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                                U.S. District Court
                       Southern District of Florida (Key West)
                CRIMINAL DOCKET FOR CASE #: 4:18−mj−05032−PMH−1
                                 Internal Use Only

    Case title: USA v. Conkright                               Date Filed: 12/14/2018
                                                               Date Terminated: 12/14/2018

    Assigned to: Magistrate Judge
    Patrick M. Hunt

    Defendant (1)
    Donald Howard Conkright           represented by Robert Norman Berube
    19474−104                                        Federal Public Defender's Office
    YOB 1957 ENGLISH                                 One East Broward Boulevard
    TERMINATED: 12/14/2018                           Suite 1100
                                                     Fort Lauderdale, FL 33301
                                                     954−356−7436
                                                     Fax: 356−7556
                                                     Email: Robert_Berube@FD.org
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Public Defender Appointment

    Pending Counts                                  Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                               Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                      Disposition
    18:1343.F Wire Fraud



    Plaintiff
    USA                                       represented by
                                                                                                1
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                                                                Jonathan Kobrinski
                                                                U.S. Attorney's Office
                                                                Miami, FL 33131
                                                                305.961.9074
                                                                Email: jonathan.kobrinski@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

    Date Filed   # Page Docket Text
    12/13/2018           Arrest of Donald Howard Conkright (dd) (Entered: 12/14/2018)
    12/14/2018   1    3 Magistrate Removal of Complaint from ND/TX Case number in the other
                        District 4:18−MJ−755 as to Donald Howard Conkright (1). (dd) (Entered:
                        12/14/2018)
    12/14/2018   2       PAPERLESS NOTICE OF HEARING as to Donald Howard Conkright Initial
                         Appearance on Revocation Proceedings set for 12/14/2018 02:00 PM in Key
                         West Division before KW Duty Magistrate. (dd) (Entered: 12/14/2018)
    12/14/2018   3   11 Minute Order for proceedings held before Magistrate Judge Patrick M. Hunt:
                        Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Donald Howard
                        Conkright held on 12/14/2018. Bond hearing not held. Defendant waives
                        removal and defers bond hearing until arrival in the Northern District of Texas.
                        FPD appointed. AFPD added: Robert Norman Berube for Donald Howard
                        Conkright (Digital 12:34:39) Signed by Magistrate Judge Patrick M. Hunt on
                        12/14/2018. (dd) (Entered: 12/14/2018)
    12/14/2018   4       WAIVER OF REMOVAL HEARING by Donald Howard Conkright (at)
                         (Entered: 12/14/2018)
    12/14/2018   5   12 COMMITMENT TO ANOTHER DISTRICT as to Donald Howard Conkright.
                        Defendant committed to District of NORTHERN DISTRICT OF TEXAS..
                        Closing Case for Defendant. (Signed by Magistrate Judge Patrick M. Hunt on
                        12/14/2018). (See attached document for full details). (at) (Entered: 12/14/2018)




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                                                                     :0-67aM -llufa:
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE N ORTHERN DISTRICT OF TEXA S
                              FORT W ORTH DIVISION

    UNITED STATES OF AM ERICA

                                               No.4:18-MJ- ).
                                                            ç
    DONALD HOW ARD CONO GHT (01)
                               W AY     NT FOR ARREST

    TO:         TheunitedstatesM arshaland                   t..
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                                                                                      ..
                 nyAuthorizedOfsceroftheUnitedStates 4 kagtwzwo                            #w aIJ
                                                                                   txltq I1.
         YOU ARE HEREBY CO             NDED toarrestDONALD HOW ARD                y.c.
                                                                                     e - yk     .
    CONKRIG       and bring him forthwith to thenearestavailablemagistfateto answera
        p ' char ing him withW ireFraud,inviolationof18U.S.C.j 1343.



    JE     Y L.CURETON
      nit StatesM agistrateJudge

      uedatFortWorth,Texasonthisthelo          dayofoecember,2018.


          Thiswarrantwasreceived and executed with thearrestoftheabovc-nam ed
          defendantat                                                .




      DATE M CEIVED :              NAM E AND TITLE OF       SIGNATURE OF
                                   ARRESTIN G OFFICER:      ARRESTIN G OFFICER

      DA TE O F A RR EST :




                                                                                               3
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                                                                      U.S.17IS-rRIC1-C'OtII'
                                                                                           r1*
                                                                  NORTCIERN DIS'I-RlC-l
                                                                                      -01'*1EXA:
                                                                               FfLE D
                               IN THE UNITED STATES DIST CT CO RT
                               FOR THE NORTHERN DISTRIC OF TE AS
                                                               '7f' lS 2013
                                      FORT W ORTH DIVISI                         - ..- - -

                                                                   $-
                                                                    .
                                                                    -
                                                                    1EItK.U-S.Dls'
                                                                                 lRlcTCOURT
     UNITED STATES OF                                               l-
                                                                     iy-
                                   RICA                                    ''---m puty       ..   .-




                                                   No,4:18-MJ- 7 s s
    DONALD HOW ARD CONKRIGHT (01)
                                                            é? E A u c- ()
                                      cltlulxal-PG PL-        RANT rJxEcty-rEp
           1,Task Force OfficerCasey Allen, being duly sworn,statethe following istrueand
    correctto thebestofmy knowledge and belief:

    Alleged Offense:

           From on in oraround October2018 to thepresent, in the Northern D istrictof
           Te
           C xas,defendantDonald How ard Conkrightdevised aschem e to defraud the
             rowley IndependentSchoolDistrict, andto obtain money andproperty by m eans
           ofm aterially falseandfraudulentpretenses, representationsandprom ises andfor
           thepum ose ofexecuting thatschem e, he caused to betransm itted by m,eansof
           wirecom municationin interstatecomm ercecertain signalsandsounds a11donein
                                                                              ,
           violation of18U.S.C.j 1343.
    Probable Cause:

          1,Task ForceO ffcerCaseyAllen, am aDetectivewith theFortW orth Police

   Depmtment(FW PD),mn currentlydetailedtotheFederalBureauoflnvestigation (FB1)s and
   wasdeputized by the FB1underTitle21, United StatesCode, asam em berofthe FB1's

   FinancialCrim esTask Force. Thestatem entssetforth in thisaffdavitaret
                                                                         rueand correctto
   thebestofm yknowledge and belief, butare notinclusive ofa11theevidenceorinformation

   in the case.




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                                  THE SCHEM E TO DEFM UD

            Crowley lndependentSchoolD istrict, hereinafterreferred to asCrow ley ISD isa
                                                                                     ,

     public-schooldistrict,which isheadquartered at5l2 Peach Street, Crowley,Texas and
                                                                                    ,

     located in theNorthern DistrictofTexas.

    2.     Aspartofitsongoing operations, Crowley ISD routinely paid vendorsby checlt wire
                                                                                     ,


    transferand automatedclearinghouse(ACH).Oneofthosevendorswho Crowley lSD
    routinelypaid wasSteele & Freeman, Inc.(SteeleFreeman),acommercialconstruction

    com pany which operatesin and aroundN orth Texasand Southern Oklahom a.

           On oraboutOctober24,2018,theDirectorofAccountforCrowley 1SD received an

    emailfrom 'drowland@ steelefreeman.net'.Theemailincludedthesubjectline, 'tBANKTNG
    INFORM ATION FOR ACH SETUP''(emphasisoriginal).Theemailpurportedlycamefrom
    ED enaRowland'whowasemployed asan accountantforSteeleFreem an. The em ailalso

    pum ortedly provided updatedbanking inform ation forSteeleFreem an, and specifically

    included the following:

                        BANK NA X : IBERIABANK
                        BANK ADDRESS:5601OVERSEAS HIGHW AY , M AM THON ,FL
                        33050
                        ACCOUNT NU M BER:12103671139
                        ROUTING NUM BER:265270413
                        (Emphasisoriginal).
          Based on the emaildated October24, 2018,Crowley 1SD senta $1testpaym entvia

   ACH to theIberiaBank accountending in X 1139. Thenextday,anotherem ailwassentto

   CrowleyISD'SDirectorofAccountingfrom thessmedrowland@steelefreemannetemail   .


   address,which confnuedreceiptofthe $1A CH testtransaction    .




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     Asaresultoftheemailsfrom drowland@steelefreeman.netandconGrmationACH
     transaction,Crowley 1SD believed any incoming invoicesfrom SteeleFreeman weret
                                                                                  o be
    paidto theIberiaBank accotmtending in X 1139.

    5.      On oraboutN ovem ber 13, 2018,Crowley ISD sentan ACH transaction to theIberia

    Bank accountending in X 1139 in the am ountofapproxim ately $522,588.98.TheACH

    transaction waspayableto Steele& Freem an.

    6.     On oraboutNovember14,2018, Crowley 1SD sentan ACH tru saction to theIberia

    Barlk accountending inX1139 intheamountofapproximately $1,473,126.54. TheA CH
    transaction waspayableto Steele& Freem an,

    7.     Basedupon interviewsconducted by yourAffiantand areview oftinancialrecords

    provided by lberiaBank,theaccountending in X 1139 isowned by, and underthecustody

    andcontrolofConkright.Conkright'saccountX 1139 wasinitially opened on orab
                                                                                      out

    October15,2018,andwasfundedwithan initialdepositof$1s000.00.
    8.     On oraboutN ovem ber 13,2018, Conkright'saccountX 1139 receivedthefirstACH

    transaction from Crowley ISD , payableto SteeleFreemen in the am ountofapproxim ately

   $522,904.98.Conkrighthasneverbeenemployedby,m aintained an ownership interestin
                                                                                               ,

   orhad any financialrelationship with, oron behalfof,SteeleFreeman.

          A review ofConkright'saccountX 1139, indicated on oraboutN ovember 13 2018,
                                                                               ,

   Conkrightmadeatleast10 withdrawaltransactions, which totaled approximately $52,665.77

   orm ore. A review ofthese transactionsincluded debitcard transactions, cash w ithdraw als

   and checksdrawn ofaccountX 1139.


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      10.    On oraboutNovember14,2018, Conkright's accountX 1139 received thesecond

     ACH transaction from Crowley ISD , payableto SteeleFreem an in the am ountof

     approximately $1,473,126.54.

     11.     A review ofConkright'saccountX 1139, indicated on oraboutN ovem ber14
                                                                                          ,   2018,
     Cankrightmade atleast12 w ithdrawaltransactions, which totaled approximately

     $1,622,183,00. A review ofthesetransactionsincluded debitcard transactions cash
                                                                                     ,

     withdrawal,checlts,internaltransfers, and internationalw ire transfers. lncluded w ith the

    transactionswasa$750,000.00 transferto an IberiaB= k savingsaccountending in X4241.

    Based on areview offnancialrecords, lberiaBank accountending in X4241is'ow ned by
                                                                                                 ,

    and underthecustody and controlofConkright.

    12. Between on oraboutNovember 15, 2018,and November18 2918,Conkrightm ade
                                                          ,

    atleast29w ithdrawaltransactions, whichtotaledabout$29l,
                                                           462.3l.
    13. Basedon artview ofvidto surveillanceprovided by Iberia Bank
                                                                            ,   yourAffianthas
    identified Conkrightto bepresentin lberiaBank branch locationsduring the
                                                                            period ofthe
   schemeto defraud. Additionally, yourAfGanthaslearntd from bank investigators

   Conkrighttold lberiaBank employeesthem oney he received on behalfofSteeleFreem an

   waspartofhisgirlfriend'sinheritance.

            Am ong thewithdraw alsConkrightm ade from hisaccountX 1139 on orabout
                                                                      ,

   Novem ber 16,2018,Conkrightsentawiretransferin theam ountofapproxilnately

   $69,205.00to K,Jewelerslnc.Based on information provided by Iberia Bank
                                                                                    employees,




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     Conkrightindicated tolberiaBank branch em ployeeshehadpurchased anew Rolcx watch.

     Conkrightwasobserved by IberiaBank branch employeeswearing awatch.

     15.   YourA ffianthasreviewedrecordsprovided by K . Jew elersrelated to Conkright. On

    oraboutN ovember,16,2018,Conkrightm ade two purchasesatK .lewelers,located in

    M iam i,Florida. First,Conkrightpurchased an 18 karatyellow gold Rolex ççpresident

    BraceletSilverRom an Dialy''priced atabout$32,830. 19. In addition,Conkrightpurchased
    an 18 karatyellow gold Rolex 'çsubm arinerwith Date,''priced atabout$34,250.00. W ith

    salestax,thetotalchargesw ere about$71,205.00.
           A review ofK .Jewelerssalesordernum ber59571, dated November16,2018, include

    a$2,000.00 paym entwith an IberiaBank debitcard ending in X2249, inthe name of

    Conkright,and a balance of$69,205.00.ln addition, K .Jewelersretained acopy of
    Conkright'sdriver'slicenseand a copy ofConkright'sIberiaBank debitcard ending in

    X2249. ln addition,yourA ffianthasreviewed surveillancephotos ofConkrightlocated in

    theK.Jewelry location in M iam i,Florida.

           YourA ffianthasreviewed financialrecordsprovided by lberiaBank forConkright's

    accolmtX4241. Conkright'saccountX4241wasinitially opened on oraboutOctober15,

   2018,and wasftmded with an initialdepositof$1,026.62. The only otherdepositin

   Conkright'saccountX4241wasthe$750,000.00 transferfrom accountX 1139 on orabout

   N ovem ber 14,2018.




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     18, On oraboutNovember15,2018,Cankright'saccountX4241senta wire transferto

    B.M .Inc,in the am ountof$128,029.87. YourAffianthaslearnedB .M .lnc.isa car

    dealership,which islocated in M iami,Florida,which sellsvarioushigh-end vchicles

    including butnotlim ited to BM W S.

    19. On oraboutN ovem ber14,2018,Conkrightpurchased a 2018BM W M 3. Y our

    Affianthasreviewed recordsfrom theState ofFlorida, D epartm entofH ighway Safety and

    M otorVehicles,which identified Conkrightwasregistered astheow nerofthevehicle, and

    listed Conkright'saddressand driver'slicensenup ber.
    20. YourAffianthasinterviewed representativesofB .M .Inc.,who confirm ed Conkright

    paid forhis2018 BM W M 3with awiretransferin the am ountofapproximately

    $128,029.87.
    21. A saresultofthe schem eand artificeto defraud by Conkright, Crowley 1SD lost

    approximately$1,995,715.52.

                                INTERSTATE W IRE COM M UM CA TIONS
   22. During the course ofhisschemeto defraud,and ln furtherance ofit, Conkright

   caused anumberofinterstatewire comm unicationsto be sent. Am ong them ,forinstance,

       A .On oraboutl1/13/2018,C onkrightcaused an ACH wiretransfer to be sent9om

           Crowley ISD 'Sbank accountlocated in theN orthern DistrictofTexasto hisbank

           accountin Floridain the amountofapproximately $522,588.98.

                                                                                           *




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         B.On oraboutl1/14/2018,Conkrightcaused an ACH w iretransfer to be sentfrom

             Crowley ISD 'Sbank accountlocated in theN orthern DistrictofTexasto hisbank

             accountin Floridain the am ountofapproxim ately $1,473,126.54.
         Based upon the above factsand circum stances,1respectfully subm itthatthereis

     probable causeto believethatDonald H ow ard Conkrightdevised aschem eto defraud the

     Crow ley IndependentSchoolDistrict,and to obtain money and property by m eansof

     m aterially falseand fraudulentpretenses,representationsandprom ises, and forthepum ose

     ofexecuting thatschem e,hecaused to betransm itted by m eansofw ire com munication in

     interstatecomm ercecertain signalsand sounds, a1ldonein violation of18 U .S.C. 51343.

                                                  #

                                Casey Allen
                                Task ForceOfficer
                                U.S.FederalBureau ofInvestigation



           swon Axo susscmssobeoreme,at/;b<8
                                           .p.m.,this10thdayof
    Decem ber,2018 in FortW orth,         s.


                                JE           .C     TON
                                     lt StatesM agistrateJudge




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                                                          CO URT M INUTES
              U.S.M AGISTRATE JUDG E PATRICK M . HUNT -FO RT LAUDERDALE
                                                                        , FLO RIDA
     DEFT: DONALD HOWARD CONKRJGHT (J)#                            CASE N0: 18-5032-HUNT
     AUSA: Y'                jz-K                                  ATTY:
                                       obrlew'ez                               (Ifapplicable-appealscolloquy)
     AGENT:                                                        V1OL: REM OVAL:ND/TX W ireFraud
  PROCEEDING: INITIAL APPEAM NCE ON                                RECOM M ENDED BOND:
                         REMOVAL
  BOND HEARING HELD -yes no                                 COUNSEL APPOINTED                      )
                                                                                                       F
                                                                                     :             &
  BOND SET @:                                                      Tobecosignedby:

  Q        Do notviolate any Iaw .

  Q        Appearin courtasdirected.
                                                                              .-
                                                                                                                       #
  Q       Surrenderand /ordo notobtain passportsItravel
          documents.
                                                                                                                      e
          RpttoPTS asdirected/or            x'sa week/month by
          phones
               '            x'saweek/month in person.
                                                                                                                  #
 Q        Random urinetestingby PretrialServices.
          Treatmentasdeemed necessary.

          M aintain orseekfull-time employment.
                                                                    V w>>                      zso-
                                                                         /
 Q        No contactwith victims/witnesses.

 Q        No tirearms.
                                                                         >                 az x$
                                                                                               +14 .

 Q
          Curfew:

         Travelextendedto:
                                                             .




                                                             .
                                                                         + <D zz-z .
 (
 D       Halfway House                                       .




 NEXTCO URTAPPEAM NCE:                   DATE
                                             :                   TIME:                   JUDGE:                   PLACE:
 INQUIRY RE COUNSEL:
 PTD/BOND HEARING:
 PRELJM/ARRAIGN . OR REM OVAL:
 CHECK IF                  Forthereuonsstated by counselfortheDefend
 APPLI
     CABLE                                                             antandfindingthattheendsofjusticeservedbygrantingtheore
                         : T
                           tenusmotion forcontinuanceto hirecounseloutweighthe bestinterestsofthepublic& theDefendantin aSpeedy
                             rial,theCourtfindsthattheperiod oftimefrom today through and including
                           excludable in accordancewith theprovisionsoftheSpe,ed
                                                                               y TrialAct, l8 USC 3l6letseq     . shal
                                                                                                                     lbedeemed
DATE: 12-14-18            TIM E:1Q;.
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% AO 94 (Rtv.8/97)CommitmenttoAnotherDistrict

                                  U NITED STATES D ISTM CT C OURT
                       Southern                              Districtof                             Florida
         UNITED STATESOF AM ERICA                                                C O M M ITM ENT TO ANO TH ER
                    V.                                                                      D ISTRICT
         DONALD HOW ARD CONKRIGHT

                        DOCKET NUM BER                                         MAGISTRATE JUDGE CASE NUM BER
          DistrictofArrest               DistrictofOffense                   DistrictofArrest                 DistrictofOffense
             ND/TX                        4:18-M .
                                                 1-755                  SouthernDistrictofFlorida             18-5032-HUNT
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
           C)Indictment       D Infonnation        x Complaint EZ Other(specify)
chargingaviolationof              l8        U.S.C.j              1343
DISTRICT OF OFFENSE
      ND/TX FortW orth
DESCRIPTION OF CHARGES:

          W ireFraud

 CU RRENT BO ND STATU S:
         (
         Z1Bailfixed at                     andconditionswerenotmet
         I
         ZIGovernmentmoved fordetentionanddefendantdetained afterhearingin DistrictofArrest
         (Vf overnmentmovedfordetention and defendantdetainedpending detentionhearingin DistrictofOffense
         E(1Other(specify)
 Representation:         (
                         Z1Retained OwnCounsel               FederalDefenderOrganization        EZICJA Attorney          (E)None
 InterpreterRequired?               o               Y es               Language
                                                                   DISTRICT FL/southern
       TO :THE UNITED STA TES M AR SH AL
            You arehereby com m anded to take custody ofthe above named defendantand to transportthat
       defendantwithacertified copyofthiscomm itm entforthwithtothedistrictofoffenseasspecifiedabove
       and theredeliverthedefendantto theUnited StatesM arshalforthatDistrictorto som eotherofficer
       authorized toreceivethedefendant.

                Dec l4.2018
                      D ate                                       UnitedStates     rM agistrateJudge
                                                                       4*f     M ' #tJW
                                                               RETUR N

 Thiscom mitmentwasreceived and executed asfollow s:
  DATECOMM ITM ENT ORDER RECEIVED                        PLACE OF COM MITMENT                         DATE DEFENDANT COM M ITTED



  DATE               UNITEDSTATESMARSHAL                                       (BY)DEPUTY MARSHAL




                                                                                                                                  12
